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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

KIMBERLY HARRIS, et al.,

              Plaintiffs,

v.                                                           CV No. 19-564 KWR/CG

THE GOVERNING BOARD OF ARTESIA
GENERAL HOSPITAL, et al.,

              Defendants.

                      ORDER TO SUBMIT CLOSING DOCUMENTS

       THIS MATTER is before the Court upon notice that this case has settled.

       IT IS THEREFORE ORDERED that the parties shall submit closing documents

no later than November 23, 2020. If the need for an extension arises, the parties are

instructed to file a formal motion on the record.

       IT IS SO ORDERED.




                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
